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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

 

M.B., .
Plaintiff : CIVIL ACTION
v.
ROOSEVELT INN LLC ef al., : No. 21-2984
Defendants :
K.R,, :
Plaintiff : CIVIL ACTION
v.
ROOSEVELT INN LLC ef at, :
Defendants : No, 21-3218
CLA, :
Plaintiff : CIVIL ACTION

Vv.

ROOSEVELT INN LLE ef al., :
Defendants : No. 21-3222

 

B.H., :
Plaintiff : CIVIL ACTION

 

Vv.

ROOSEVELT INN LLC ef al, :
Defendants : No. 21-3225

 

A.H., :
Plaintiff : CIVIL ACTION
Vv.
ROOSEVELT INN LLC ef af,

Defendants : No. 21-3277

 

 
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C.A,, :
Plaintiff : CIVIL ACTION
v.
WYNDHAM WORLDWIDE
CORPORATION ef at, :
Defendants : No. 21-3392
B.H., :
Plaintiff : CIVIL ACTION
¥.
WYNDHAM WORLDWIDE
CORPORATION et al., :
Defendants : No. 21-3396
K.R,, :
Plaintiff : CIVIL ACTION
v.
WYNDHAM WORLDWIDE
CORPORATION ef al, :
Defendants : No. 21-3401
A.H., :
Plaintiff : CIVIL ACTION

Vv.

WYNDHAM WORLDWIDE

 

CORPORATION et al., :

Defendants : No. 21-3430
A.H., :

Plaintiff ; CIVIL ACTION

v.

ROOSEVELT INN LLE ef al, :
Defendants : No. 21-3914

 
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ORDER

AND NOW, this pe day of October, 2021, upon consideration of M.B.’s Motion to
Remand (Doc. No. 15, Civ, Action No, 21-2984), Roosevelt Inn LLC, Roosevelt Motor Inn Inc.,
UFVS Management Company, LLC, and Yagna Patel’s Opposition to the Motion to Remand
(Doc. No. 17, Civil Action No, 21-2984), and Alpha-Centurion Security, Inc.’s Opposition to the
Motion to Remand (Doc. No. 18, Civil Action No. 21-2984);

K.R.’s Motions to Remand (Doc. No. 6, Civ. Action No. 21-3218, and Doc. No. 7, Civ.
Action No. 21-3401), Roosevelt Inn LLC, Roosevelt Motor Inn Inc., and UFVS Management
Company, LLC’s Opposition to the Motion to Remand (Doe. No. 9, Civ. Action No. 21-3218),
Wyndham Worldwide Corporation (n/k/a Travel + Leisure Co.), Wyndham Hotel Group, LLC,
Wyndham Hotels and Resorts, Inc., Wyndham Hotel Management, Inc., Wyndham Hotel and
Resorts, LLC, and Days Inns Worldwide, Inc.’s Opposition to the Motion to Remand (Doc. No.
10, Civ. Action. No. 21-3401), 4200 Roosevelt LLC and 4200 Rose Hospitality LLC d/b/a Days
Inn’s Opposition to the Motion to Remand (Doc. No. 12, Civ. Action No, 21-3401), and Alpha-
Centurion Security Inc’s Opposition to the Motion to Remand (Doc. No. 15, Civ. Action No, 21-
3401);

C.A.’s Motions to Remand (Doc. No. 6, Civ. Action No. 21-3222, and Doc. No. 8, Civ.
Action No. 21-3392), Roosevelt Inn LLC, Roosevelt Motor Inn Inc., and UFVS Management
Company, LLC’s Opposition to the Motion to Remand (Doc. No. 8, Civ. Action No. 21-3222);
Wyndham Worldwide Corporation (n/k/a Travel + Leisure Co.), Wyndham Hotel Group, LLC,
Wyndham Hotels and Resorts, Inc., Wyndham Hotel Management, Inc., Wyndham Hotel and

Resorts, LLC, and Days Inns Worldwide, Inc.’s Opposition to the Motion to Remand (Doce. No.
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14, Civ, Action No. 21-3392), Ritz Hotel Group’s Opposition to the Motion to Remand (Doc. No.
15, Civ. Action No. 21-3392), Ramara, Inc.’s Opposition to the Motion to Remand (Doc. No. 17,
Civ. Action No. 21-3392), Ashoka Investment & Management Services’ Opposition to the Motion
to Remand (Doe. Nos. 19-20, Civ. Action No. 21-3392), and 4200 Roosevelt LLC and 4200 Rose
Hospitality LLC d/b/a Days Inn’s Opposition to the Motion to Remand (Doc. No. 22, Civ. Action
No. 21-3392),

B.H.’s Motions to Remand (Doc. No. 6, Civ, Action No, 21-3225, and Doc. No. 8, Civ.
Action No. 21-3396), Roosevelt Inn LLC, Roosevelt Motor Inn Inc., and UFVS Management
Company, LLC’s Opposition to the Motion to Remand (Doc. No. 9, Civ. Action No. 21-3225),
Wyndham Hotel Group, LLC, Wyndham Hotels and Resorts, Inc., Wyndham Hote! Management,
Inc., Wyndham Hotel and Resorts, LLC, and Days Inns Worldwide, Inc.’s Opposition to the
Motion to Remand (Doc. No. 11, Civ. Action No. 21-3396), Ritz Hote! Group’s Opposition to the
Motion to Remand (Doc. No. 12, Civ. Action No. 21-3396), Ramara, Inc.’s Opposition to the
Motion to Remand (Doc. No. 14, Civ. Action No. 21-3396), 4200 Roosevelt LLC and 4200 Rose
Hospitality LLC d/b/a Days Inn’s Opposition to the Motion to Remand (Doc. No. 16, Civ. Action
No. 21-3396), and Alpha-Centurion Security Inc’s Opposition to the Motion to Remand (Doc. No.
19, Civ. Action No. 21-3396);

A.H.’s Motions to Remand (Doc. Nos. 4, 12, Civ. Action No. 21-3277, Doc. No. 9, Civ.
Action No. 21-3430, and Doc. No. 32, Civ. Action No. 21-2984), Roosevelt Inn LLC, Roosevelt
Motor Inn Inc., UFVS Management Company, LLC, and Yagna Patel’s Opposition to the Motion
to Remand (Doc. No. 6, Civil Action No. 21-3277), Wyndham Hotel Management, Inc., Wyndham
Hotel and Resorts, LLC, Wyndham Worldwide Corporation (n/k/a Travel + Leisure Co.),

Wyndham Hotel Group, LLC, and Wyndham Hotels and Resorts, Inc.’s Opposition to the Motion
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to Remand (Doc, No, 29, Civ. Action No. 21-2984, and Doc, No. 17, Civ. Action No. 21-3277),
and Eighty Eight, L.P.’s Oppositions to the Motion to Remand (Doc. No. 18, Civ. Action No. 21-
2377, and Doc. No. 36, Civ. Action No. 21-2984);

A.H.’s Motion to Perfect Nune Pro Tune (Doc. No. 35, Civ. Action No, 21-2984) and
Fighty Eight’s Opposition to the Motion to Perfect (Doc. No. 40, Civ. Action No. 21-2984);

Wyndham Hotel Management, Inc., Wyndham Hotel and Resorts, LLC, Wyndham
Worldwide Corporation (n/k/a Travel + Leisure Co.j, Wyndham Hotel Group, LLC, and
Wyndham Hotels and Resorts, Inc.’s Supplement in Opposition to the Motion to Remand (Doc.
No. 41, Civ. Action No. 21-2984), 4200 Roosevelt LLC and 4200 Rose Hospitality LLC d/b/a
Days Inn’s Supplement in Opposition to the Motion to Remand (Doe. No. 42, Civ. Action No. 21-
2984), Roosevelt Inn LLC, Roosevelt Motor Inn Inc., UFVS Management Company, LLC, and
Yagna Patel’s Supplement in Opposition to the Motion to Remand (Doc. No. 43, Civ. Action No.
21-2984), M.B., C.A., B.H., and K.R.’s Supplement in Support of the Motion to Remand (Doc.
No. 44, Civ. Action No, 21-2984), and A.H.’s Supplement in Support of the Motion to Remand
(Doc. No. 45, Civ. Action No. 21-2984); the oral argument held on September 29, 2021; and for
the reasons set forth in the accompanying Memorandum, it is ORDERED that:

l. M.B,’s Motion to Remand (Doc. No. 15, Civ. Action No. 21-2984) is GRANTED.

2. K.R.’s Motions to Remand (Doc. No. 6, Civ. Action No, 21-3218, and Doc. No. 7,
Civ. Action No. 21-3401) are GRANTED.

3, C.A.’s Motions to Remand (Doc. No. 6, Civ. Action No. 21-3222, and Doc. No. 8,
Civ. Action No. 21-3392) are GRANTED.

4, B.H.’s Motions to Remand (Doc. No. 6, Civ. Action No. 21-3225, and Doc. No. 8,

Civ. Action No. 21-3396) are GRANTED.
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5, A.H,’s Motion to Perfect Nune Pro Tune (Doc. No. 35, Civ. Action No. 21-2984)
is GRANTED. Her Motion to Remand in Civ. Action No. 21-3430 (Doc. No. 9, Civ. Action No.
21-3430) is DEEMED timely filed.

6. A.H,’s Motions fo Remand (Doc. Nos. 4, 12, Civ. Action No. 21-3277, Doc. No. 9,
Civ. Action No. 21-3430, and Doc. No. 32, Civ. Action No. 21-2984) are GRANTED.

7. These cases are REMANDED to the Philadelphia County, Pennsylvania Court of
Common Pleas.

8. The Clerk of Court is directed to CLOSE these cases for all purposes, including

statistics.

BY THE COURT:

fla

ELK. PRATTER
UNITED STATES DISTRICT JUDGE
